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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

TARWONIA ALBROW,                                §
             Plaintiff,                         §
                                                §
VS.                                             §
                                                §             CIVIL ACTION NO. 4:19-cv-03558
                                                §
CITIMORTGAGE, INC.                              §
               Defendant.                       §

______________________________________________________________________________

       UNOPPOSED STIPULATION OF DISMISSAL WITHOUT PREJUDICE
______________________________________________________________________________

TO THE HONORABLE DISTRICT COURT JUDGE:

       Pursuant to the Federal Rule of Civil Procedure, Plaintiff Tarwonia Albrow hereby

stipulates and agrees to the following:

       1.      Plaintiff filed her Original Petition, Application for Injunctive Relief, and

Request for Disclosures in the 165th Judicial Court of Harris County, Texas on August 29, 2019.

       2.      Defendant filed its Notice of Removal on September 20, 2019.

       3.      The parties have settled the dispute amongst themselves.

       4.      Accordingly, Plaintiff requests that the Court dismiss this lawsuit without

prejudice against filing same in the future.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff hereto requests that the Court enter

the attached Order dismissing the above-entitled and numbered cause without prejudice with costs

of court being assessed against the party incurring same.
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                                             Respectfully submitted,
                                                     VILT AND ASSOCIATES – TX, P.C.

                                             By:    /s/ Robert C. Vilt
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                                             ATTORNEYS FOR PLAINTIFF

                             CERTIFICATE OF CONFERENCE

      I hereby certify that a conference was held on the merits of this motion on April 17,
2020 with Kurt Lance Krolikowski and he is not opposed to the relief sought herein.

                                                     /s/ Robert C. Vilt
                                                     ROBERT C. VILT

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was forwarded to all counsel
of record pursuant to Rule 21a of the Texas Rules of Civil Procedure on this the 20th day of April,
2020.

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                                             /s/ Robert C. Vilt
                                             ROBERT C. VILT
